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		OSCN Found Document:UNIFORM BAR EXAMINATION

					

				
  



				
					
					
						
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				UNIFORM BAR EXAMINATION2020 OK 51Decided: 06/09/2020THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2020 OK 51, __ P.3d __

				
UNIFORM BAR EXAMINATION

ORDER 


¶1 The Oklahoma Supreme Court, pursuant to its general administrative authority, Okla. Const. art. VII, § 6, and pursuant to its sole authority to regulate the admission to the practice of law in Oklahoma, ordered the creation of the Oklahoma Bar Examination Advisory Committee on September 16, 2019, to study and make recommendations regarding the content and administration of the Oklahoma bar exam. The Supreme Court considered the recommendations of the Advisory Committee in conference and hereby orders the following:

¶2 I. Adoption of the Uniform Bar Examination

The Supreme Court unanimously votes to adopt the Uniform Bar Examination in Oklahoma to replace the current Oklahoma bar exam. The Court orders the Uniform Bar Examination to be given beginning after July 1, 2021.

ALL JUSTICES CONCUR.

¶3 II. Uniform Bar Examination Minimum Passing Score

The minimum passing score in Oklahoma for the Uniform Bar Examination shall be 264.

CONCUR: Gurich, C.J., Darby, V.C.J., Winchester, Edmondson, Kane, and Rowe, JJ.

DISSENT: Kauger, Colbert, and Combs, JJ.



COMBS, J., with whom Kauger, J. joins, dissenting:

"I would set a cut score at 262."



¶4 III. Increase Multistate Professional Responsibility 
Examination Minimum Passing Score

The Court unanimously votes to increase the Multistate Professional Responsibility Examination minimum passing score to 80, effective January 1, 2022.

ALL JUSTICES CONCUR.

¶5 The Rules Governing Admission to the Practice of Law in the State of Oklahoma will be amended to implement this Order.

IT IS SO ORDERED. 

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 8th day of JUNE, 2020.


/S/NOMA D. GURICH, CHIEF JUSTICE







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